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                   UNITED STATES COURT OF INTERNATIONAL TRADE

                      BEFORE: THE HONORABLE GARY S. KATZMANN

                                                       )
SENECA FOODS CORPORATION,                              )
                                                       )
                       Plaintiff,                      )
                                                       )               Court No. 22-00243
                       v.                              )
                                                       )
UNITED STATES,                                         )
                                                       )
                       Defendant.                      )
                                                       )


             PLAINTIFF’S UNOPPOSED MOTION FOR ORAL ARGUMENT

       Pursuant to Rule 7(c) of the Rules of the Court of International Trade, Seneca Foods

Corporation (“Seneca”) hereby moves for oral argument with respect to its Rule 56.1 Motion for

Judgment on the Agency Record (ECF No. 31).

       Oral argument is appropriate in this case for several reasons. Seneca made the underlying

orders at issue in this case—and paid millions of dollars in tariffs—over two years ago.

Resolution of this matter is important to Seneca and its business operations. This case also

presents important questions about the manner in which Commerce administers the Section 232

tariff exclusion process as a whole. While the briefing has been extensive, oral argument would

allow for a deeper analysis of the relevant issues, especially those issues of particular interest to

the Court.

       Plaintiff has consulted with Defendant regarding this motion, and Defendant takes no

position and defers to the Court’s discretion as to whether argument is necessary or desirable.
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       For these reasons, Seneca respectfully requests that this Motion be granted and that the

Court schedule oral argument on the earliest date convenient for the Court. A proposed order is

submitted herewith.

                                             Respectfully submitted:

                                             /s/ James M. Smith
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May 22, 2023                                 Counsel for Plaintiff Seneca Foods Corporation




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                                 CERTIFICATE OF COMPLIANCE

        Pursuant to Chambers Procedure 2(B)(2), the undersigned certifies that Plaintiff Seneca Foods

Corporation’s Motion for Oral Argument contains 183 words as computed by Covington & Burling’s

word processing system, excluding those portions that do not count toward the word limitation, and thus

complies with the Court’s Chambers Procedures.




                                                /s/ James M. Smith
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May 22, 2023                                    Counsel for Plaintiff Seneca Foods Corporation




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                  UNITED STATES COURT OF INTERNATIONAL TRADE

                     BEFORE: THE HONORABLE GARY S. KATZMANN

                                                  )
SENECA FOODS CORPORATION,                         )
                                                  )
                      Plaintiff,                  )
                                                  )            Court No. 22-00243
                      v.                          )
                                                  )
UNITED STATES,                                    )
                                                  )
                      Defendant.                  )
                                                  )

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Unopposed Motion for Oral Argument, and all other

papers and proceedings herein, it is hereby

       ORDERED that Plaintiff’s Motion is GRANTED; and it is further

       ORDERED that oral argument in the above-captioned case is scheduled for __________.



       SO ORDERED.

Dated: ____________                                            ________________________
       New York, NY                                                     JUDGE




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